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v_ cr. No. LA.LEJA__Q___

i’.)€~lsnlue L. Flo\}r)

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on ___, 2005. The Assistant United States
Attomey appeared on behalf of the government, end the defendant appeared in person and with the
following counsel, who is retainedfappointed:

NAME: FCu/*'g ;Q@£ éld/<§ éaZ'L/'Q

ADDRESS:

 

 

TELEPHGNE:

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause shown
to a Distr"ict Judge, such period is extended,

The defendant, who is not in custody, may stand on his/her present bond.

The defendant, {not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984], is remanded to the custody of the U.S. Marshal.

17

United States Magistrate Judge
_1
Charges: Emf_’)EF-’-€LGH’\EUT' ,i-' BAM i(_ FML):Q

 

Assistant U.S. Attorney assigned to case: l> F’.ARL§¢?.

The defendants age is: .

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This notice confirms a copy of the document docketed as number 7 in
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Stephen C. Parker

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Ste. 800

Memphis7 TN 38103

Blake Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

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Honorable Bernice Donald
US DISTRICT COURT

